      Case 2:08-cv-00107-MCA-CG Document 17 Filed 10/06/08 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


FRANCIS LEON HARVEY,

                                PLAINTIFF,
vs.                                                          No. CV 00107-MCA-RLP

UNITED STATES OF AMERICA,

                                DEFENDANT.


                                PLAINTIFF’S MOTION FOR
                              PARTIAL SUMMARY JUDGMENT

         Comes now Plaintiff, Francis Leon Harvey, by and through counsel and moves

this court for partial summary judgment. He requests a finding that this case is governed

by the civil law of the Navajo Nation. This motion is supported by the accompanying

Memorandum in Support of Motion for Partial Summary Judgment.



         Respectfully submitted this 3rd day of October, 2008.




      _________________________                      ______________________
      Mickale Carter                                 Burt Broxterman
      1211 Winchester St                             2539 Wyoming NE Suite A
      Fredericksburg VA 22401                        Albuquerque NM 87112
      505 270 1480                                   505 296 4821
                                                     Fax: 505 296 4822
      Counsel for Plaintiff                          Counsel for Plaintiff
